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 EEOC Form 161-B (11/2020)                U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To:     Sharon Lewis                                                                  From:    New Orleans Field Office
        5664 S. Afron Parkway                                                                  Hale Boggs Federal Building
        Baton Rouge, LA 70806                                                                  500 Poydras Street, Room 809
                                                                                               New Orleans, LA 70130




                  On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                           Telephone No.

                                                         Charlotte D. Davis,
 461-2021-01317                                          Senior Investigator                                           (504) 635-2543
                                                                                   (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

        X         More than 180 days have passed since the filing of this charge.

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
        X         The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
                  The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

                  The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                         On behalfDigitally
                                                                                   of the Commission
                                                                                            signed by
                                                        Charlotte D.              Charlotte D. Davis
                                                                                  Date: 2022.01.03 09:25:51
                                                        Davis                     -06'00'                                  01/03/2022
 Enclosures(s)                                                         Malcolm S. Medley,                                    (Date Issued)
                                                                            Director

 cc:          Susan W. Furr                                                           Larry English, Esq.
              Counsel                                                                 TAMMYE CAMPBELL BROWN, J.D., R.N.
              PHELPS DUNBAR LLP                                                       P.O. Box 13402
              400 Convention St., Ste 1100                                            Alexandria, LA 71315
              Baton Rouge, LA 70802
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Enclosure with EEOC
Form 161-B (11/2020)
                                       INFORMATION RELATED TO FILING SUIT
                                     UNDER THE LAWS ENFORCED BY THE EEOC
                      (This information relates to filing suit in Federal or State court under Federal law.
             If you also plan to sue claiming violations of State law, please be aware that time limits and other
                    provisions of State law may be shorter or more limited than those described below.)


                                  Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS          --
                                  the Genetic Information Nondiscrimination Act (GINA), or the Age
                                  Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS          --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --               Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                    --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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Enclosures(s)


cc:
